
THE PEOPLE OF THE STATE OF NEW YORK, Respondent, against
againstMarcus Shelton, Appellant. The People of the State of New York, Respondent, NO. 2014-585 W CR Marcus Shelton, Appellant.



Appeals from two judgments of the City Court of Peekskill, Westchester County (Reginald J. Johnson, J.), rendered February 24, 2014. Each judgment convicted defendant, upon his plea of guilty, of criminal possession of a controlled substance in the seventh degree. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738 [1967]), seeking leave to withdraw as counsel.




ORDERED that, on the court's own motion, the appeals are consolidated for purposes of disposition; and it is further,
ORDERED that the judgments of conviction are affirmed.
We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders v California (386 US 738 [1967]), and, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal. Counsel's application for leave to withdraw as counsel is, therefore, granted (see id.; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252 [2011]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]).
Marano, P.J., Iannacci and Brands, JJ., concur.
Decision Date: June 29, 2016










